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 2                                   UNITED STATES DISTRICT COURT
 3                                         DISTRICT OF NEVADA
 4                                                     ***
 5
     UNITED STATES OF AMERICA,
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 7
                            Plaintiff,
                                                         2:14-cr-0-242-JCM-VCF
 8   vs.
                                                         ORDER
 9   ADRIAN ACEVEDO-HERNANDEZ,

10                         Defendants.

11           Before the court is the Motion to Withdraw as Defendant’s Counsel (#28).
12           IT IS HEREBY ORDERED that a hearing on the Motion to Withdraw as Defendant’s Counsel
13   (#28) is scheduled for 1:00 p.m., September 29, 2014, in courtroom 3D.
14           The U.S. Marshall is directed to transport Defendant Adrian Acevedo-Hernandez to and from the
15   hearing.
16           IT IS SO ORDERED.
17           Dated this 22nd day of September, 2014.
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                                                               CAM FERENBACH
20                                                             UNITED STATES MAGISTRATE JUDGE

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